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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  GEORGE GUTIERREZ,

                            Plaintiff,                  Case No: 21-cv-2211

          v.                                             Judge: Manish S. Shah

  CITY OF AURORA, and AURORA                             Mag. Judge: Hon. Jeffrey Cummings
  POLICE OFFICERS MATTHEW
  THOMAS MEYERS (# unknown) and C.
  MCCUE (# unknown),

                            Defendants.                JURY TRIAL DEMANDED




                                JOINT INITIAL STATUS REPORT

1. The Nature of the Case

        a. Identify the attorneys of record for each party, including the lead trial
        attorney.

Plaintiff George Gutierrez – Daniel Massoglia (lead trial attorney)
Defendants C. McCue, Matthew Thomas Meyers, City of Aurora – John Murphey (lead trial
attorney)

        b. State the basis for federal jurisdiction.

The jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42 U.S.C. § 1983 and the
Judicial Code, 28 U.S.C. §1331 and §1343(a). The Court also has supplemental jurisdiction over
Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

        c. Describe the nature of the claims asserted in the complaint and any
        counterclaims.

Plaintiff alleges that he was wrongfully seized, falsely arrested, assaulted, battered, and subjected to
excessive force by defendant officers during the course of a pretextual traffic stop that was
unreasonably extended when Defendant Officers discovered that Plaintiff was listed on a violent
offender registry for a conviction in the early 1990s (the sentence and terms of parole of which
were completed satisfactorily.) He further brings an indemnity claim against the City of Aurora.
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Defendants have not yet answered or otherwise filed a responsive pleading, and anticipate
answering and denying the substantive allegations. Defendants propose that the Answer be filed on
or before 8-23-21.

        d. State the major legal and factual issues anticipated in the case.

The parties anticipate that major legal and factual issues will include the reasonableness of the
initial traffic stop, the reasonableness of duration of said stop, the reasonableness of the force used
against Plaintiff, the presence or absence of probable cause for Plaintiff’s arrest, the existence or
non-existence of actions comprising assault and battery. The incident has been partially captured
on cameras.

        e. Describe the relief sought by the plaintiff(s).

Plaintiff seeks compensatory and punitive damages for his injuries and Defendant Officers’
conduct as set forth in his Complaint. Plaintiff, however, also is amenable to relevant stakeholders
in the Aurora area engaging in a restorative and transformative justice process in the form of a
public forum on policing and police reform, in exchange for the satisfactory completion of which
he would agree to forego prosecution of his suit and dismiss with prejudice.

2. Pending Motions and Case Plan

        a. Identify all pending motions

There are no pending motions.

        b. Submit a proposal for a discovery plan, including the following
        information:

                        i. The general type of discovery needed;

Parties will need written and oral fact discovery regarding the events near and outside Plaintiff’s home
the date of the incident. Additionally, parties anticipate fact discovery into Defendant’s disciplinary
history, knowledge, and events of that day; City policies and directives relevant to use of force, traffic
stops, arrest, and prosecution. Parties also anticipate discovery into the nature of Plaintiff’s injuries.

                        ii. A date for Rule 26(a)(1) disclosures;

Rule 26(a)(1) disclosures will be due within 14 days of the filing of Defendants’ Answer(s) or
responsive pleading.

                        iii. A date to issue written discovery;

Written discovery will be issued within two months of Rule 26(a)(1) disclosures.

                        iv. A fact discovery completion date;
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Fact discovery will conclude within 6 months of Rule 26(a)(1) disclosures.

                       v. If there will be expert discovery, an expert discovery completion date,
                       including dates for the delivery of expert reports; and

The parties are unsure at this preliminary stage of the need for expert discovery, and will update
the court with proposed schedules at the close of fact discovery or at such earlier time as the need
becomes clear.

                       vi. A date for the filing of dispositive motions.

The parties will file dispositive motions within two months of the close of discovery.

       c. With respect to trial, indicate whether a jury trial is requested and the
       probable length of trial.

       A jury trial is requested and will likely last 2-3 days.

3. Consent to Proceed Before a Magistrate Judge

       a. Indicate whether the parties consent unanimously to proceed before a
       Magistrate Judge.

The parties do not unanimously consent to proceed before a magistrate judge.

4. Status of Settlement Discussions

       a. Indicate whether any settlement discussions have occurred;

The parties have had a preliminary discussion regarding the potential for resolving the matter
through a restorative process like a public forum as described above, but have not taken any
tangible steps towards this outcome.

       b. Describe the status of any settlement discussions; and

No tangible steps have been made towards settlement.

       c. Whether the parties request a settlement conference.

The parties do not request a settlement conference at this time.

Dated: August 16, 2021
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                              Respectfully Submitted,

                                                 /s/Daniel E. Massoglia

                                                 One of Plaintiff’s Attorneys

                                                 /s/John Murphey (with consent)

                                                 Attorney for Defendants


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                                   CERTIFICATE OF SERVICE

       I, Daniel E. Massoglia, an attorney, hereby certify that a copy of this Joint Initial Status
Report was filed before 11:59pm on 8/__/21 using the Court’s CM/ECF filing system, which
generates electronic notice to all parties of record in the case.



                                                                               Respectfully submitted,

                                                                                /s/Daniel E. Massoglia
                                                                           One of Plaintiff’s Attorneys



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